                                              Case 3:10-bk-03417-PMG                 Doc 66    Filed 07/25/18           Page 1 of 1


                                                                                     Form 1                                                                              Page: 1

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         10-03417-3G7 PMG                                                         Trustee: (290900)           Gregory K. Crews
Case Name:           CHAMBERS, MARK S.                                                        Filed (f) or Converted (c): 04/23/10 (f)
                     CHAMBERS, VIRGINIA                                                       §341(a) Meeting Date:       06/11/10
Period Ending:       06/30/18                                                                 Claims Bar Date:            10/12/10

                                1                                           2                        3                           4                  5                    6

                       Asset Description                                 Petition/           Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled      (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                          Values           Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                 Remaining Assets

 1       PERSONAL INJURY                                                         0.00                    Unknown                                         0.00             Unknown
          Injuries sustained from 2005 medical implant.

 1       Assets          Totals (Excluding unknown values)                      $0.00                       $0.00                                       $0.00                 $0.00


     Major Activities Affecting Case Closing:
              Case reopened January 22, 2018. 04/02/18 trustee employed 3 law firms, The Potts Law Firm, Johnson Law Group, and Bailey, Peavy, Bailey, to pursue a claim for
              personal injuries related to a medical procedure performed on Virginia Chambers in 2005. All three firms were employed by the debtor to pursue the matter.

              06/30/2018 Motion to Approve Compromise or Controversy is being prepared.

     Initial Projected Date Of Final Report (TFR): February 15, 2019                      Current Projected Date Of Final Report (TFR): February 15, 2019




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